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                                                                                                     Appendix A to Defendants' Trial Brief




                                                                                                  In re: Pelvic Mesh Litigation
                                                                        United States District Court, Northern District of Ohio, Western Division (Toledo)
                                                                                 Tina Burris v. Ethicon, Inc. et al. Case No. 3:20-cv-01450-JRK

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   Exhibit No.                  Bates Range (if applicable)                   Date                                         Description                            Objections                   Offered                     Status
                    BURRIST_ACGHD_MDR00001 to
      1001          BURRIST_ACGHD_MDR00001                                                   Allen County General Health District
                    BURRIST_BVHS_PAT00001 to
      1002          BURRIST_BVHS_PAT00003                                                    Blanchard Valley Health System
                    BURRIST_BVRHC_BIL00001 to
                    BURRIST_BVRHC_BIL00005
                    BURRIST_BVRHC_MDR00001 to
      1003          BURRIST_BVRHC_MDR00038                                                   Blanchard Valley Regional Health Center
                    BURRIST_CCFI_BIL00001 to
      1004          BURRIST_CCFI_BIL00025                                                    CCF Itemization Department
                    BURRIST_MCHUNG_MDR00001 to
      1005          BURRIST_MCHUNG_MDR00259                                                  Chung, Maurice, M.D.
                    BURRIST_TCLC_MDR00001 to
      1006          BURRIST_CCOH_MDR00233                                                    Cleveland Clinic (The)
                    BURRIST_EXEU_MDR00001 to
      1007          BURRIST_EXEU_MDR00001                                                    Executive Urology
                    BURRIST_GASTAI_MDR00001 to
      1008          BURRIST_GASTAI_MDR00033                                                  Gastrointestinal Associates Inc
                    BURRIST_GLOBGYN_MDR00001 to
      1009          BURRIST_GLOBGYN_MDR00001                                                 Grand Lake OB/GYN
                    BURRIST_KGRIME_MDR00001 to
      1010          BURRIST_KGRIME_MDR00001                                                  Grime, Kris, P.T.
                    BURRIST_HMHOS_MDR00001 to
      1011          BURRIST_HMHOS_MDR00001                                                   Hardin Memorial Hospital
                    BURRIST_LKUK_MDR00001 to
      1012          BURRIST_LKUK_MDR00023                                                    Kuk, Lawrence J., D.O.
                    BURRIST_LIMH_MDR00001 to
                    BURRIST_LIMH_MDR00014
                    BURRIST_LIMH_PAT00001 to
      1013          BURRIST_LIMH_PAT00010                                                    Lima Memorial Hospital
                    BURRIST_LMPIMFC_MDR00001 to
      1014          BURRIST_LMPIMFC_MDR00026                                                 LMP Internal Medicine and Family Care
                    BURRIST_DMACK_MDR00001 to
      1015          BURRIST_DMACK_MDR00001                                                   Mack, Donald, Dr.
                    BURRIST_NOOG_MDR00001 to
      1016          BURRIST_NOOG_MDR00004                                                    Northwest Ohio OB/GYN
                    BURRIST_NPTHER_MDR00001 to
      1017          BURRIST_NPTHER_MDR00001                                                  Northwest Physical Therapy
                    BURRIST_OPCP_MDR00001 to
      1018          BURRIST_OPCP_MDR00013                                                    OhioHealth Primary Care Physicians
                    BURRIST_PMANWO_MDR00001 to
      1019          BURRIST_PMANWO_MDR00005                                                  Physical Medicine Associates of NW Ohio Inc.
                    BURRIST_PFS_00001 to
      1020          BURRIST_PFS_00061                                                        Plaintiff Fact Sheet
                    BURRIST_PPF_00001 to
      1021          BURRIST_PPF_00026                                                        Plaintiff Profile Form
                    BURRIST_PSR_00001 to
      1022          BURRIST_PSR_02482                                                        Plaintiff Supplied Records
                    BURRIST_DPODA_MDR00001 to
      1023          BURRIST_DPODA_MDR00001                                                   Podach, Danita M., P.A.
                    BURRIST_PACH_MDR00001 to
      1024          BURRIST_PACH_MDR00001                                                    Prenatal Allen Co Health
                    BURRIST_RPD_DEPO00001 to
      1025          BURRIST_RPD_DEPO00107                                                    Records Produced at Deposition
                    BURRIST_RAHC_BIL00001 to
      1026          BURRIST_RAHC_BIL00007                                                    Rite Aid Headquarters Corporation




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                                                                                                  In re: Pelvic Mesh Litigation
                                                                        United States District Court, Northern District of Ohio, Western Division (Toledo)
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                    BURRIST_RIMH_MDR00001 to
                    BURRIST_RIMH_MDR00001
                    BURRIST_RIMH_PAT00001 to
      1027          BURRIST_RIMH_PAT00001                                                       Riverside Methodist Hospital
                    BURRIST_SOSA_SSA00001 to
      1028          BURRIST_SOSA_SSA00256                                                       Social Security Administration
                    BURRIST_SPECTS_MDR00001 to
      1029          BURRIST_SPECTS_MDR00001                                                     Specialized Therapy Services
                    BURRIST_SJHNH_MDR00001 to
      1030          BURRIST_SJHNH_MDR00002                                                      St. Joseph Hospital
                    BURRIST_SJHOGM_MDR00001 to
      1031          BURRIST_SJHOGM_MDR00007                                                     St. Joseph Hospital Ob/Gyn & Midwifery
                    BURRIST_STRMC_MDR00001 to
                    BURRIST_STRMC_MDR00006
                    BURRIST_STRMC_PAT00001 to
      1032          BURRIST_STRMC_PAT00003                                                      St. Rita's Medical Center
                    BURRIST_STRWUC_MDR00001 to
      1033          BURRIST_STRWUC_MDR00034                                                     St. Rita's Westside Urgent Care
                    BURRIST_UTMC_MDR00001 to
                    BURRIST_UTMC_MDR00001
                    BURRIST_UTOMC_PAT00001 to
      1034          BURRIST_UTOMC_PAT00001                                                      University of Toledo Medical Center
                    BURRIST_WHFL_MDR00001 to
      1035          BURRIST_WHFL_MDR00032                                                       Women's Health For Life
                    BURRIST_JZIMME_MDR00001 to
      1036          BURRIST_JZIMME_MDR00001                                                    Zimmerman, Jerry L., Ph.D.
      1037                                                                            8/1/2014 Short Form Complaint
      1038                                                                           8/31/2012 First Amended Master Long Form Complaint and Jury Demand
                                                                                               Master Answer and Jury Demand of Defendant Ethicon, Inc. to First
      1039                                                                           8/30/2012 Amended Master Complaint
                                                                                               Master Answer and Jury Demand of Defendant Johnson & Johnson to
      1040                                                                           8/30/2012 First Amended Master Complaint
                                                                                               Plaintiff's Objections and Responses to Defendant Ethicon, Inc.'s First
                                                                                               Set of Interrogatories, Requests for Admission and Requests for
      1041                                                                           7/13/2019 Production

                                                                                               Ethicon, Inc.'s Objections and Responses to Plaintiff's Interrogatories,
      1042                                                                           7/17/2019 Requests for Production, and Requests for Admission
      1043                                                                           7/26/2019 Ethicon, Inc's Verification Page
                    DFS-BURRIS.TINA0001 to
      1044          DFS-BURRIS.TINA0123                                                        Defendants' Fact Sheet
      1045                                                                                     Prolift Exemplar
      1046                                                                                     Prolene Monofilament Exemplar
      1047                                                                                     Pelvic Floor Models
                                                                                               All slides, charts, boards, and other demonstrative materials prepared
      1048                                                                                     by counsel or witnesses in court
                    BURRIST_BVRHC_MDR00006 to                                                  Depo Exhibit No. 3 to the 10.07.2019 Deposition of Desrene Brown,
      1049          BURRIST_BVRHC_MDR00008                                            8/5/2008 MD - Informed Consent, dated 8/05/08
                                                                                               Depo Exhibit No. 4 to the 10.07.2019 Deposition of Desrene Brown,
                    BURRIST_BVRHC_MD00003 to                                                   MD - Bluffton Hospital Operative Record of Tina Burris, dated
      1050          BURRIST_BVRHC_MD00004                                             8/5/2008 08/05/08

                    BURRIS000003 to                                                             Depo Exhibit No. 5 to the 10.07.2019 Deposition of Desrene Brown,
      1051          BURRIS000003                                                                MD - Bluffton Hospital Progress Record of Tina Burris, dated 8/05/08
                                                                                                Depo Exhibit No. 7 to the 10.07.2019 Deposition of Desrene Brown,
                                                                                                MD - Office Chart of Northwest Obstetrics and Gynecology of Tina
      1052                                                                                      Burris




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                                                                                                  In re: Pelvic Mesh Litigation
                                                                        United States District Court, Northern District of Ohio, Western Division (Toledo)
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   Exhibit No.                  Bates Range (if applicable)                   Date                                           Description                                Objections             Offered                     Status
                                                                                                Depo Exhibit No. 1 to the 07.09.2019 Deposition of Tina Burris -
      1053                                                                            6/18/2019 Notice of Video Deposition of Tina Burris
                                                                                                Depo Exhibit No. 2 to the 07.09.2019 Deposition of Tina Burris -
      1054                                                                             8/1/2014 Short Form Complaint and Long Form Complaint
                                                                                                Depo Exhibit No. 3 to the 07.09.2019 Deposition of Tina Burris -
      1055                                                                             5/9/2019 Plaintiff Fact Sheet
                                                                                                Depo Exhibit No. 4 to the 07.09.2019 Deposition of Tina Burris -
                    BURRIST_BVRHC_MDR00008 to                                                   Blanchard Valley Regional Health Center Consent to surgical or Other
      1056          BURRIST_BVRHC_MDR00006                                            7/28/2008 Medical Procedure
                                                                                                Depo Exhibit No. 1 to the 10.10.2019 Deposition of Niall Galloway,
      1057                                                                            8/18/2019 MD - Rule 26 Expert Report of Dr. Niall Galloway
                                                                                                Depo Exhibit No. 2 to the 10.10.2019 Deposition of Niall Galloway,
      1058                                                                                      MD - Curriculum Vitae
                                                                                                Depo Exhibit No. 3 to the 10.10.2019 Deposition of Niall Galloway,
      1059                                                                                      MD - Invoice
                                                                                                Depo Exhibit No. 4 to the 10.10.2019 Deposition of Niall Galloway,
                                                                                                MD - Candida Biofilms: Threats, Challenges, and Promising
      1060                                                                            2/13/2018 Strategies article
                                                                                                Depo Exhibit No. 5 to the 10.10.2019 Deposition of Niall Galloway,
                                                                                                MD - Complications Following Vaginal Mesh Procedures for Stress
      1061                                                                            9/20/2017 Urinary Incontinence: and 8 Year Study of 92,246 Women
                    BURRIST_BVRHC_MDR00003 to                                                   Depo Exhibit No. 6 to the 10.10.2019 Deposition of Niall Galloway,
      1062          BURRIST_BVRHC_MDR00003                                             8/5/2008 MD -August 5, 2008, Operative Record
                    BURRIST_TCLC_MDR00020 to                                                    Depo Exhibit No. 7 to the 10.10.2019 Deposition of Niall Galloway,
      1063          BURRIST_TCLC_MDR00022                                            11/15/2011 MD - November 15, 2011, Operative Report

                                                                                                Depo Exhibit No. P1 to the 10.10.2019 Deposition of Niall Galloway,
                                                                                                MD - Plaintiff's Objections to Defendants Ethicon, Inc. and Johnson
      1064                                                                            10/7/2019 & Johnson's Notice of Deposition of Dr. Niall Galloway

                                                                                                Depo Exhibit No. P2 to the 10.10.2019 Deposition of Niall Galloway,
      1065                                                                            10/7/2019 MD - Motion to Quash Subpoena and for Protective Order
                                                                                                Depo Exhibit No. A to the 01.13.2022 Deposition of Chris Horning -
      1066                                                                           12/16/2021 Notice of Deposition
      1067                                                                                      Curriculum Vitae of Salil Khandwala, MD, FPMRS, FACOG
      1068                                                                                      Curriculum Vitae of Larry T. Sirls, II, M.D.
      1069                                                                                      Curriculum Vitae of Dr. Axel Arnaud
      1070                                                                                      Curriculum Vitae of Thomas A. Barbolt, Ph.D., D.A.B.T.
      1071                                                                                      Curriculum Vitae of Dr. Jim Hart
      1072                                                                                      Curriculum Vitae of Dr. Piet Hinoul
      1073                                                                                      Curriculum Vitae of Dr. Aaron Kirkemo
      1074                                                                                      Curriculum Vitae of Dr. Vincent Lucente
      1075                                                                                      Curriculum Vitae of Dr. Charlotte Owens
      1076                                                                                      Curriculum Vitae of Dr. David Robinson
      1077                                                                                      Curriculum Vitae of Dan Smith
      1078                                                                                      Curriculum Vitae of Dr. Martin Weisberg
      1079                                                                                      Curriculum Vitae of Jerry Blaivas, M.D.
      1080                                                                                      Curriculum Vitae of Niall Galloway, M.D.
      1081                                                                                      Curriculum Vitae of Robert P. Tremp, Jr. MA, CRC, CLCP, LAC
                    ETH.MESH.02341454 to
      1082          ETH.MESH.02341521                                                12/17/2007 Prolift Instructions for Use - 12/17/2007 to 9/24/2009
      1083                                                                                      Timeline of History of Prolapse Surgery
      1084                                                                                      Timeline of Development of POP Mesh Implants
                                                                                                Abstract No. 620 - Denis, et al., Pelvic Organ Prolapse Treatment by
                                                                                                the Vaginal Route using a Vypro® Composite Mesh: Preliminary
      1085                                                                                 2004 Results about 106 cases.
                    ETH.MESH.02270857 to                                                        July 2004 - Email chain from Laura Angelini to Zenobia Walji, et al.,
      1086          ETH.MESH.02270858                                                07/16/2004 RE: D'Art - Conversation with Prof. Jacquetin




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                                                                                                         Appendix A to Defendants' Trial Brief




                                                                                                  In re: Pelvic Mesh Litigation
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                                                                                                Deposition Exhibit No. 1265 - November 2006 - Email Chain from
                    ETH.MESH.03160750 to                                                        David Robinson to Judith Gauld, et al., RE: Pelvic Floor/Mesh
      1087          ETH.MESH.03160752                                                11/15/2006 Strategy
                    ETH.MESH.00411013 to                                                        Deposition Exhibit No. 902 - A Clinical Assessment of GYNEMESH
      1088          ETH.MESH.00411013                                                           PS for the Repair of Pelvic Organ Prolapse
                    ETH.MESH.00142524 to
      1089          ETH.MESH.00142533                                                        PowerPoint: Gynemesh PS Study
                    ETH.MESH.01160160 to                                                     Deposition Exhibit No. 351 - Design & Development Plan -
      1090          ETH.MESH.01160188                                                        GyneMesh PROLENE Soft Mesh
                                                                                             Deposition Exhibit No. 459 - Jacquetin, B., et al., ABS 767 - Prolene
                    ETH.MESH.00199603 to                                                     Soft (Gynecare) Mesh for Pelvic Organ Prolapse Surgical Treatment:
      1091          ETH.MESH.00199604                                                        A Prospective Study of 264 Patients
                    ETH.MESH.00015699 to                                                     Deposition Exhibit No. 466 - Gynemesh PS - A New Mesh for Pelvic
      1092          ETH.MESH.00015706                                                        Floor Repair: Early Clinical Experience
                                                                                             Lucente, V., et al., Oral Poster 55 - A Clinical Assessment of
                                                                                             GYNEMESH PS for the Repair of Pelvic Organ Prolapse (POP).
      1093                                                                              2004 Journal of Pelvic Medicine & Surgery 2004; S35.
                                                                                             Meshes in Pelvic Floor Repair - Findings from literature review and
                    ETH.MESH.05493965 to                                                     conversations/interviews with surgeons Prepared by Brigitte
      1094          ETH.MESH.05493999                                             06/06/2000 Hellhammer
                    ETH.MESH.05490640 to                                                     Pelvic Floor Repair - Extended Review of Medical Literature May,
      1095          ETH.MESH.05490656                                                   2001 2001
                                                                                             ACOG Committee Opinion No. 352 - Innovative Practice: Ethical
      1096                                                                     December 2006 Guidelines. Obstet Gynecol. 2006 180(6):1589-1595.
      1097                                                                                   Prolift - Complete Design History File
                                                                                             Hunsicker Deposition Exhibit No. D2 - PowerPoint: TVM 6 Month
      1098                                                                                   Data Review

                                                                                                Deposition Exhibit No. 1208 - PowerPoint: Outcome Incidence: A
                                                                                                Retrospective Series of Over 1000 Patients Following Transvaginal
      1099                                                                                      Mesh Surgery for Pelvic Organ Prolapse by Miles Murphy, et al.
                                                                                                Clinical Study Report - Clinical assessment of feasibility,
                    ETH.MESH.00357123 to                                                        complications and effectiveness at twelve months, three year and five
      1100          ETH.MESH.00357203                                                06/27/2006 years of the TVM technique for genital prolapse.

                    ETH.MESH.00520649 to                                                        Clinical Study Report - Clinical assessment of the TVM technique for
      1101          ETH.MESH.00520722                                                 6/28/2006 treatment of genital prolapse. Final report of 12-month evaluation.
                                                                                                Deposition Exhibit No. 743 - Memo from Jeffrey Everett to Gynecare
                                                                                                PROLIFT* Pelvic Floor Repair System - electronic Design History
                    ETH.MESH.00365412 to                                                        File DHF0000105 (Supplement storage, Research & Development
      1102          ETH.MESH.00365414                                                 6/14/2007 Central File (RDCF) reference DH1158)
                                                                                                Deposition Exhibit No. 742 - Memo from Jeffrey Everett to Gynecare
                                                                                                PROLIFT* Pelvic Floor Repair System - electronic Design History
                    ETH.MESH.02059150 to                                                        File DHF0000105 (Supplement storage, Research & Development
      1103          ETH.MESH.02059151                                                 5/24/2006 Central File (RDCF))

      1104          ETH.MESH.00002740                                                            Medical Literature Table showing synthetic and biologic mesh results
      1105                                                                                       Deposition Exhibit No. 523 - PowerPoint: The TVM Data
                    ETH.MESH.00308747 to
      1106          ETH.MESH.00308891                                                 2/28/2005 Deposition Exhibit No. 170 - Declaration of conformity
                                                                                                Gauld Deposition Exhibit No. 9B - Cosson, M., et al., Prospective
                                                                                                clinical assessment of the trans vaginal mesh (TVM) technique for
      1107                                                                                      treatment of pelvic organ prolapse - 6 and 12 months results
                    ETH.MESH.05736908 to
      1108          ETH.MESH.05736925                                                            Pelvic Organ Prolapse - A Pocket Reference Guide
                    ETH.MESH.00147934 to
      1109          ETH.MESH.00147935                                                           Gynecare Prolift System Recognized for Design Excellence
                                                                                                Picture of Gynecare Prolift Pelvic Floor Repair System - Silver
      1110                                                                                 2006 Winner - Medical Design Excellence Awards




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                    ETH.MESH.02270766 to                                                        November 2003 - Email Chain from Michael Cosson to Scott
      1111          ETH.MESH.02270767                                                11/21/2003 Ciarrocca RE: D'art Risk Question
      1112                                                                            3/11/1997 FDA Design Control Guidance for Medical Device Manufacturers
                    ETH-03878 to
      1113          ETH-03878                                                                   Cadaver Lab dates 2003-2004
                    ETH.MESH.00551642 to                                                        Deposition Exhibit No. 615 - Memo to S. Ciarrocca/J. Samon RE:
      1114          ETH.MESH.00551643                                                08/14/2003 Design Verification Strategy for Project D'Art
                    ETH.MESH.01156032 to
      1115          ETH.MESH.01156038                                                12/15/2004 Clinical Expert Report - Gynecare Prolift* Pelvic Floor Repair System
      1116                                                                                      Deposition Exhibit No. 1269 - Prospective TVM studies
                    ETH.MESH.01186435 to                                                        Deposition Exhibit No. 1003 - Value Proposition Report: Anterior
      1117          ETH.MESH.01186440                                                11/04/2003 Trans Vaginal Mesh (TVM)
                    ETH.MESH.02058841 to                                                        Deposition Exhibit No. P-740 - Project D'Art Clinical DDSA: Mesh &
      1118          ETH.MESH.02058855                                                           Guides
                                                                                                Memo from Jeffrey Everett to Project D'Art Design History File RE:
                                                                                                Gynecare Prolift* Pelvic Floor Repair System Design Review: Design
                    ETH.MESH.06700231 to                                                        Verification, Process Qualification (PQ) and Design Transfer - Review
      1119          ETH.MESH.06700238                                                02/28/2005 Minutes and Action Items
                    ETH.MESH.00308787 to                                                        Deposition Exhibit No. 623 - Product Device Design Safety
      1120          ETH.MESH.00308891                                                02/25/2005 Assessment (DDSA) Approval Page
                    ETH.MESH.11576271 to                                                        Design Validation Report - Gynecare Prolift* Pelvic Floor Repair
      1121          ETH.MESH.11576302                                                  2/7/2005 System
                    ETH.MESH.02060863 to                                                        Deposition Exhibit No. P-729 - Product Quality Plan for Gynecare
      1122          ETH.MESH.02060869                                                           Prolift* Pelvic Floor Repair System
                    ETH-03590 to
      1123          ETH-03595                                                         1/29/2004 Project D'Art Cadaver Lab Trip Summary
                    ETH-07153 to                                                                Deposition Exhibit No. 617 - Clinical Expert Report Gynecare Prolift*
      1124          ETH-07158                                                         1/14/2005 Pelvic Floor Repair System - signed by Charlotte Owens
                    ETH.MESH.00308758 to                                                        Deposition Exhibit No. 622 - Essential Requirements Checklist -
      1125          ETH.MESH.00308786                                                  3/2/2005 Gynecare Prolift Pelvic Floor Repair System
                    ETH-06043 to
      1126          ETH-06074                                                                   Deposition Exhibit No. 634 - Prolift Design Validation Protocol
      1127                                                                            6/27/2003 PowerPoint: Athos/Aramis/Porthos
                    ETH.MESH.02058290 to
      1128          ETH.MESH.02058299                                                           Deposition Exhibit No. P-744 - Quality Assurance Strategy
                                                                                                Deposition Exhibit No. 630 - Memo from Jeffrey Everett to Project
                                                                                                D'Art eDHF (DHF0000105 - Gynecare Prolift Pelvic Floor Repair
                                                                                                Kits) RE: Approvals and Summary Memo for Version A of the
                    ETH-07247 to                                                                Gynecare Prolift Application Failure Modes Effects Analysis
      1129          ETH-07303                                                          3/2/2005 (aFMEA)
                                                                                                Deposition Exhibit No. 629 - Memo from Jeffrey Everett to Project
                                                                                                D'Art eDHF (DHF0000105 - Gynecare Prolift Pelvic Floor Repair
                    ETH-03568 to                                                                Kits) RE: Summary Memo for Revision B of the Gynecare Prolift
      1130          ETH-03578                                                          3/1/2005 Design Failure Modes Effects Analysis (dFMEA)
                                                                                                Deposition Exhibit No. P-1276 - Memo to Prolift* Pelvic Floor Repair
                    ETH.MESH.00911305 to                                                        System Design History File RE: Memo to address PDD Requirement
      1131          ETH.MESH.00911305                                                11/22/2004 2.3.2 pertaining to clinical evidence

                    ETH.MESH.01985815 to                                                        Deposition Exhibit No. P-1274 - Email from Sean O'Bryan to
      1132          ETH.MESH.01985831                                                11/23/2004 Vincenza Zaddem RE: 112204 D'Art Mesh Implants Rev B (DRAFT)
                    ETH.MESH.01814384 to
      1133          ETH.MESH.01814400                                                            Prolift Work Instruction for new product design control - Version 5
                    ETH-05945 to
      1134          ETH-05969                                                                   Deposition Exhibit No. 633 - Prolift: Process FMEA
                                                                                                International Standard - ISO 14971 - Medical devices -- Application of
      1135                                                                           12/15/2000 risk management to medical devices
                                                                                                International Standard - ISO 14971 - Medical devices -- Application of
                                                                                                risk management to medical devices - Amendment 1: Rationale for
      1136                                                                                 2003 requirements




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                    ETH.MESH.14369950 to                                                        International Standard - ISO 14971 - Medical devices -- Application of
      1137          ETH.MESH.14370039                                                03/01/2007 risk management to medical devices
                    ETH-03588 to                                                                Memo to Project D'Art DHF from Scott Ciarrocca RE: Summary from
      1138          ETH-03828                                                        01/12/2004 Cadaver Lab Held in Lille, FR on 1/9/04
                    ETH.MESH.10619580 to                                                        Prolift Work Instructions for device design risk management - Version
      1139          ETH.MESH.10619604                                                           5
                    ETH.MESH.10619605 to                                                        Prolift Work Instructions for device design risk management - Version
      1140          ETH.MESH.10619629                                                           6
                    ETH.MESH.00989774 to
      1141          ETH.MESH.00989775                                                02/09/2005 History of TVM, Development of the technique
                    ETH.MESH.02819245 to
      1142          ETH.MESH.02819273                                                02/04/2005 Confidential Statistical Report - TVM Interim Analysis
                    ETH.MESH.03909827 to
      1143          ETH.MESH.03909829                                                01/29/2002 Memo from A. Arnaud RE: Project TVM (Trans Vaginal Mesh)
                    ETH.MESH.02215565 to                                                        Email from Scott Ciarrocca to Cyrus Guidry, et al., RE: Message from
      1144          ETH.MESH.02215567                                                01/02/2005 Barbara Schwartz
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      1146          ETH.MESH.03354811                                                03/20/2004 Project D'Art - Clinical Strategy
                    ETH-03261 to                                                                Gynecare - Product Description Document - Project D'Art: Pelvic
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                    ETH.MESH.00002729 to                                                        Deposition Exhibit No. 51 - Email chain from Price St. Hilaire RE:
      1149          ETH.MESH.00002730                                                11/12/2006 PROLIFT Training Criteria
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                                                                        United States District Court, Northern District of Ohio, Western Division (Toledo)
                                                                                 Tina Burris v. Ethicon, Inc. et al. Case No. 3:20-cv-01450-JRK

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                                                                        United States District Court, Northern District of Ohio, Western Division (Toledo)
                                                                                 Tina Burris v. Ethicon, Inc. et al. Case No. 3:20-cv-01450-JRK

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                                                                        United States District Court, Northern District of Ohio, Western Division (Toledo)
                                                                                 Tina Burris v. Ethicon, Inc. et al. Case No. 3:20-cv-01450-JRK

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